                IN THE UNITED STATES DISTRICT COURT FOR THE
                        WESTERN DISTRICT OF MISSOURI
                              WESTERN DIVISION

UNITED STATES OF AMERICA,                )
                                         )
                    Plaintiff,           )
                                         )
v.                                       )      Case No. 05-00344-02-CR-W-ODS
                                         )
STEVEN SANDSTROM,                        )
                                         )
                    Defendant.           )

       ORDER OVERRULING DEFENDANT’S OBJECTIONS, ADOPTING THE
     MAGISTRATE JUDGE’S REPORT AND RECOMMENDATION, AND DENYING
            DEFENDANT’S MOTION TO DISMISS FOR MULTIPLICITY

      On May 11, 2005, the Honorable Robert E. Larsen, United States Magistrate
Judge for the Western District of Missouri, issued his Report and Recommendation (“the
Report”) recommending the Court deny Defendant’s Motion to Dismiss Counts One
Through Six Based on Multiplicity. Defendant has filed a timely objection, and the Court
has reviewed the Report and parties’ submissions on the matter; having done so, the
Court adopts the Report as the Order of the Court and denies Defendant’s Motion to
Dismiss.
      The Report is comprehensive and well-written, and nothing needs to be added to
its discussion of the issues. The only issue raised in Defendant’s Objection that is not
addressed by the Report is Defendant’s contention Judge Larsen erred in failing to
conduct a hearing on his motion. The undersigned’s October 14, 2005 Order of
Reference delegated authority to Judge Larsen to “hear and process all pretrial motions
to (1) dismiss or quash the indictment, and (2) suppress evidence . . . .” Defendant
argues this phrase mandated that a hearing be held on his motion. The Court
disagrees. A hearing is necessary when factual findings are necessary. Absent a need
for factual findings, there is no need to develop a factual record. Defendant’s Motion to
Dismiss does not depend on the resolution of factual matters; it requires resolution of
purely legal matters. The Court’s Order of Reference is not intended to require a
hearing where it is unnecessary for the resolution of the matter at hand. Judge Larsen



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certainly had the discretion to entertain oral argument on the motion, but the Court’s
Order of Reference did not require him to take this course.
      Defendant’s objections are overruled, the Report is adopted as the Order of the
Court, and the Motion to Dismiss Counts One Through Six Based on Multiplicity is
denied.

IT IS SO ORDERED.



                                                /s/ Ortrie D. Smith
                                                ORTRIE D. SMITH, JUDGE
DATE: August 21, 2006                           UNITED STATES DISTRICT COURT




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